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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

                         CASE NO. 17-22643-CIV-CANNON/Sanchez

  FEDERAL ELECTION COMMISSION,

          Plaintiff,
  v.

  DAVID RIVERA,

          Defendant.
                                            /

   ORDER FOLLOWING STATUS CONFERENCE; REQUIRING STATUS REPORT ON
       SETTLEMENT; AND DENYING FEE MOTION WITHOUT PREJUDICE

        THIS CAUSE comes before the Court following a Status Conference held on November

  4, 2024 [ECF No. 218]. For the reasons discussed in open Court, and to promote orderly and

  efficient proceedings in this matter, it is hereby ORDERED AND ADJUDGED as follows:

        1. Defendant’s Premature Motion for Appeal-Related Attorneys’ Fees [ECF No. 216] is

            DENIED WITHOUT PREJUDICE, to be refiled pending resolution of this matter in

            accordance with the parties’ agreement.

        2. On or before January 6, 2025, the parties shall file a Joint Status Report updating the

            Court on the status of the parties’ negotiations and their request for referral to

            Magistrate Judge Sanchez for a settlement conference. Any disagreements can be

            denoted separately.

        3. Any trial briefs are due on or before June 2, 2025.
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                                                 CASE NO. 22-81880-CIV-CANNON/Reinhart


          DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 5th day of November

  2024.



                                                     _________________________________
                                                     AILEEN M. CANNON
                                                     UNITED STATES DISTRICT JUDGE

  cc:     counsel of record




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